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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      January 2, 2024

BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Robert Menendez, et. al,
               S2 23 Cr. 490 (SHS)

Dear Judge Stein:

       The Government respectfully writes to advise the Court that a superseding indictment was
returned by the grand jury earlier today and docketed as S2 23 Cr. 490 (SHS) (the “Superseding
Indictment”). The Superseding Indictment charges the same defendants with the same offenses as
the current indictment, but expands the timeframe of the bribery and extortion conspiracy to
include 2023 and provides additional factual detail. (See, e.g., ¶¶ 55-65, 68-70).

       The filing of the Superseding Indictment will not necessitate the production of any
additional discovery. Given that no new charges are included in the Superseding Indictment, that
the Court has already excluded time under the Speedy Trial Act until the start of trial, May 6, 2024,
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and that the defendants reside out of state, the Government has no objection to the Court deferring
an immediate arraignment on the Superseding Indictment or to arraigning the defendants by video.

                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

                                              By:    s/ Eli J. Mark
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cc:    (by ECF)

       Counsel of Record
